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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


  REPORTERS COMMITTEE FOR FREEDOM
  OF THE PRESS,

                Plaintiff,

                         v.                         Civil Action No. 17-1701 (RC)

  FEDERAL BUREAU OF INVESTIGATION,
  et al.,

                 Defendants.


                       NOTICE OF SUBSTITUTION OF COUNSEL

       The Clerk of the Court will please enter the appearance of Assistant United States

Attorney Sian Jones and remove the appearance of Assistant United States Attorney Johnny H.

Walker, III as counsel of record for Defendants in the above-captioned case.



Dated: December 31, 2019                    Respectfully submitted,

                                             /s/ Sian Jones_
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